       Case 6:16-cv-06520-FPG-JWF Document 26-1 Filed 01/29/18 Page 1 of 2




UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
               ______________________
TRAVIS WELCH,
                           Plaintiff,                              AFFIDAVIT OF SPENCER
                                                                   L. ASH, ESQ. IN SUPPORT
                                                                   OF DEFENDANTS’
                                                                   MOTION IN LIMINE



       v.                                                          Case No. 16-cv-6520

CITY OF ROCHESTER, ROCHESTER POLICE
DEPARTMENT, ROCHESTER POLICE OFFICER
PATRICK GIANCURSIO, ROCHESTER POLICE
OFFICER WILLIAM WAGNER, AND
OTHER UNNAMED OFFICERS

                                Defendants.
              _________________________


        SPENCER L. ASH, ESQ., an attorney duly admitted to practice before the courts of the
State of New York, hereby makes the following statements under penalty of perjury:

  1. On or about January 19, 2018, Plaintiff provided an Exhibit and Witness List containing
     the following:

                    Medical   Records: Unity Health System, January 30, 2016;
                    Medical   Records: Strong Memorial Hospital, February 1, 2016 – May 13,
                     2016;
                  Video –     Apprehension of Brian Norford, 2-3-2016, on Lyell Avenue;
                  Video –     Apprehension of Alexander Grassies, April 2017
  (Exhibit Attached).

  2.    None of the itemized materials were not previously provided to Defendants pursuant to
       FRCP Rule 26 or Scheduling Orders in this case.
  3. Prior the referenced documents inclusion in Plaintiff’s Trial Exhibit List, Plaintiff had
     neither disclosed any of these materials nor the sources of these materials for
     authentication and examination.

  4. Moreover, with respect to the videotape evidence, same allegedly captures unrelated incidents
     involving nonparties who have neither filed claims nor obtained favorable findings against the
     named Defendants in this case.
      Case 6:16-cv-06520-FPG-JWF Document 26-1 Filed 01/29/18 Page 2 of 2




      Accordingly, Defendants seek dismissal preclusion of these exhibits.




DATED: January 29, 2018
                                       BRIAN F. CURRAN
                                       CORPORATION COUNSEL

                                       s/Spencer L. Ash
                                       _______________________________
                                       Spencer L. Ash, Esq., of counsel
                                       Attorneys for Defendants
                                       30 Church Street, Room 400A City Hall
                                       Rochester, NY 14614
                                       Telephone: (585) 428-6699


TO:   Leland T. Williams, Esq.
      Attorney for Plaintiff
      95 Allens Creek Road
      Building 1, Suite 107
      Rochester, NY 14618
      (585) 292-1110




                                          2
